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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 06-cv-00763-BNB
C. ELI-JAH HAKEEM MUHAMMAD, a.k.a. CHRISTOPHER MITCHELL,
Plaintiff,

FEL
UNITED STATES Distal

or
v. DENVER, COL ogg CURT

W. MONTGOMERY, EX-ADX Administrative Remedy Coordinator, SEP 14 2006

ADX OFFICE OF SIA/SIS,

ADX MAILROOM INMATE SYSTEMS MANAGER/OFFICERS, GREGORY C. LANCH
ADX OFFICE OF HEALTH SERVICES, oe ole
ADX OFFICE OF FOOD SERVICES, a
ADX PROPERTY, LIEUTENANT J. WALTERS,

J. CASTILLO, ADX S.0.S.,

L. RODGERS, ADX S.0.S.,

D. FOSTER, ADX 8.0.S., and

C.F. BELL, ADX S.O.S., All Being Sued in Their Official and Individual Capacities,

Defendants.

ORDER

In response to the Court's August 28, 2006, Order directing Plaintiff to file a Third
Amended Complaint, Plaintiff has filed a “Motion Requesting Four Defendants be Sued
in their Official Capacities.”

To the extent Plaintiff intends that the August 28 Motion suffice as a Third
Amended Complaint, the Motion is deficient and will be denied, An amended complaint
supersedes the original complaint. See Boelens v. Redman Homes, Inc., 759 F.2d
504, 508 (5" Cir. 1985); Cameron v. Fogarty, 705 F.2d 676 (2! Cir. 1983); London v.
Coopers & Lybrand, 644 F.2d 811 (9" Cir. 1981); 6 C. Wright, A. Miller & M. Kane,

Federal Practice and Procedure § 1476 (1990). The Motion does not contain all the

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alleged claims, a request for relief, all named Defendants, or the necessary information
that Plaintiff is required to provide in the prisoner complaint form. Therefore, Plaintiff
has failed to file a Third Amended Complaint, as he was ordered to do by the Court,
that is sufficient to supersede the prior complaints he has filed in the instant action.

Furthermore, simply suing Defendants ADX Office of SIA/SIS, ADX Office of
Health Services, and ADX Office of Food Services in an official capacity does not
overcome the improper naming of departments in a prison facility as parties to a
complaint filed pursuant to Bivens v. Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388 (1971). A Bivens claim cannot be brought against the United
States Bureau of Prisons (BOP), which would include departments of the BOP, as a
federal agency, or against prison employees in their official capacities. Steele v. Fed.
Bureau of Prisons, 355 F.3d 1204, 1214 (10" Cir. 2003) (citing Farmer v. Perrill, 275
F.3d 958, 963 (10" Cir. 2001).

Moreover, naming Defendant ADX Mailroom inmate Systems Manager Officers
in an official capacity not only is inappropriate, Plaintiff still fails to provide sufficient
information about the mailroom officers so that the officers may be identified.
Accordingly, it is

ORDERED that Plaintiffs Motion Requesting Four Defendants be Sued in Their
Official Capacities, filed September 11, 2006, is denied. Itis

FURTHER ORDERED that Piaintiff shall submit a Third Amended Complaint in
keeping with the Court’s August 28, 2006, Order. Itis

FURTHER ORDERED that if Plaintiff fails to file a Third Amended Complaint

within the time allowed in the Court's August 28, 2006, Order the Complaint and action

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will be dismissed without further notice.
DATED September 14, 2006, at Denver, Colorado.
BY THE COURT:

s/ Boyd N. Boland
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 06-cv-00763-BNB

Christopher Mitchell

a/k/a C. Eli-Jah Hakeem Muhammad
Reg. No. 02791-088

ADX — Florence

PO Box 8500

Florence, CO 81226

| hereby certify that | have mailed a copy of the ORDER to the above-named
individuals on_7,

GREGO \LANGHAM, CLERK

By: MAM
YL

Deputy Clerk

